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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                   –Southern Division–


 CONSTANCE COLLINS, et al.,
                                                              Case No. 1:20-cv-01225
 Plaintiffs,

 –v–

 TRI-STATE ZOOLOGICAL PARK OF
 WESTERN MARYLAND, INC., et al.,

 Defendants.


                             DECLARATION OF BRITTANY PEET

        I, Brittany Peet, hereby declare as follows:

        1.      The facts contained in this declaration are known personally to me and, if called as

a witness, I could and would testify competently thereto under oath.

        2.      I am employed by the Foundation to Support Animal Protection (aka PETA

Foundation) as Deputy General Counsel for Captive Animal Law Enforcement (“CALE”). In that

capacity, I oversee the PETA Foundation and People for the Ethical Treatment of Animals, Inc.’s

(“PETA”) advocacy efforts on behalf of animals in zoos, circuses, traveling shows, and other

facilities that use animals for entertainment in the United States. I also oversee PETA’s rescue

efforts and coordinate animal rescues and transfers from unaccredited facilities and traveling

exhibitors to reputable facilities.

        3.      PETA is a national non-profit organization, and animal-protection charity

headquartered in Norfolk, Virginia, that is dedicated to protecting animals, including those used

in entertainment, from abuse, neglect, and cruelty.
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       4.      PETA’s motto, which summarizes its mission, reads, “Animals are not ours to

experiment on, eat, wear, use for entertainment, or abuse in any other way.” Attached hereto as

Exhibit A is a true and correct copy of PETA’s motto and mission statement, which is made public

on its website and available here, https://www.peta.org/about-peta/.

       5.      To achieve PETA’s mission, PETA pursues several programs, including public

education, cruelty investigations, research, animal rescue, special events, celebrity involvement,

protest campaigns, and advocates for animal-welfare legislation. Attached hereto as Exhibit B is

a true and correct copy of PETA’s 2020 Annual Review, which summarizes PETA’s broad public

education and advocacy efforts in 2020.

       6.      PETA has been working, and thus expending substantial resources, to improve the

welfare of animals at Tri-State since at least 2006.

       7.      Tri-State’s ongoing and years-long neglect and public mistreatment of animals has

directly frustrated, and continues to frustrate, PETA’s mission and programs by requiring it to

focus its resources to monitor and document Defendants’ unlawful treatment of animals. Injuries

to PETA’s mission and programs are compounded because PETA is also required to continue to

divert resources to counteract the public misperceptions caused by Defendants, who portray

themselves as a “sanctuary” that rescues unwanted and abandoned animals, and whose unlawful

practices create the public misconception that the care the animals receive at Tri-State is humane

and consistent with good animal welfare and state and federal law.

       8.      Defendants portray themselves as a “sanctuary” and “animal rescue” that rescues

unwanted and abandoned animals. Attached hereto as Exhibit C is a true and correct copy of a

Tri-State Facebook post, where Tri-State represents to the public that it is a “sanctuary” that has

“SAVED” various animals. Attached hereto as Exhibit D is a true and correct copy of Tri-State’s




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Facebook page that describes the facility as a “Local Zoo and Exotic Animal Rescue.” Tri-State

emphatically is not a “sanctuary” or “animal rescue,” and is not helping, but rather, mistreating

and neglecting animals.

       9.      By neglecting and mistreating animals and holding Tri-State out as a sanctuary,

Defendants impair PETA’s ability to ensure proper care of the animals it has vowed to protect

from neglect, abuse and cruelty, and further impairs PETA’s efforts to educate the public abusive,

neglectful or cruel treatment of animals should not be tolerated. Attached as Exhibit E are true

and correct copies of reviews and comments posted by members of the public. Tri-State has led

these individuals to believe that the animals at Tri-State have been rescued, have no other place to

go, and are well cared for by Tri-State. The fact that Defendants are violating state and federal law,

falsely portraying Tri-State as a sanctuary, and continuing to maintain animals in egregious and

unlawful conditions suggests to the public that the conditions at Tri-State cannot be harmful, thus

creating an incorrect public impression that such treatment is lawful, humane, and consistent good

animal welfare.

       10.     To identify and counteract Defendants’ unlawful treatment of animals, and to

counteract the public impression that Defendants’ practices are lawful and humane, and that Tri-

State is a refuge for abandoned and unwanted animals, PETA has diverted and continues to divert

substantial monetary and staff time resources from other programs in furtherance of its overall

mission. These efforts, which started in 2006, include, but are not limited to, submitting complaints

about Tri-State to government agencies, including the U.S. Department of Agriculture (“USDA”);

drafting multiple posts for the PETA.org blog; reviewing and responding to complaints from the

public about Tri-State; compiling and publishing information on PETA’s website about Tri-State’s

history of animal welfare violations; distributing press releases on Tri-State’s Animal Welfare Act




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(“AWA”) violations; filing and litigating lawsuits over Tri-State’s AWA license renewal and Tri-

State’s Endangered Species Act violations (the “ESA Lawsuit”); filing an administrative appeal

regarding the USDA’s apparent unlawful withholding of public records; and sending an attorney

to meet with Mr. Candy to offer to place the animals at reputable facilities.

        11.     To assist in these efforts to compile accurate information about Tri-State to share

with the public and its members, as well as to counteract Tri-State’s unlawful conduct and the

public impression that Tri-State’s practices are lawful and consistent with good animal welfare,

PETA has expended, and continues to expend, considerable staff time tracking and gathering Tri-

State’s USDA inspection reports; monitoring Tri-State’s social media pages and website; and

submitting multiple public records requests related to the facility and reviewing and analyzing

numerous responsive documents. This does not include staff time expended on and costs incurred

in the current litigation.

        12.     Defendants’ conduct and public mischaracterization has forced PETA, beginning

well before the complaint in this case was filed, to divert resources from its educational and

investigatory efforts, research, funding animal rescues, special events, celebrity involvement,

protest campaigns, and other types of efforts that otherwise form the basis of PETA’s mission to

counteract Defendants’ unlawful actions and the public misperceptions they cause.

        13.     Defendants’ unlawful actions also frustrate PETA’s mission to advocate for all

other animals, including, for example, animals held in other roadside zoos, traveling animal

exhibits, and in other industries, by addressing the manner in which those animals are commonly

and, in many instances, lawfully used. Instead, PETA diverts substantial monetary and staff time

resources, described in paragraphs 10 and 11 above, toward addressing Tri-State’s atypical and

uniquely egregious abuse of animals.




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       14.     Defendants’ unlawful actions also frustrate PETA’s efforts to alleviate the suffering

of other animals, including, for example, animals held in other roadside zoos and traveling animal

exhibits, which do not necessarily engage in the same degree of animal mistreatment as

Defendants, but which likewise have records of significant animal neglect and abuse.

       15.     Prior to the commencement of PETA’s ESA Lawsuit, which was filed on July 31,

2017, PETA also expended considerable staff time arranging for sixteen staff and activists to visit

and document the conditions at Tri-State on seventeen occasions. Other than the individuals who

attended site inspections of Tri-State in this case and in the ESA Litigation, PETA has not sent any

staff or activists to visit Tri-State since the commencement of the ESA Litigation.

       16.     In addition to staff time, PETA has incurred numerous costs related to these efforts,

but unrelated to the instant litigation, including, but not limited to: attorneys’ fees; Westlaw

research expenses; filing fees; long-distance phone charges; fees for shipping and printing

services; and travel expenses.

       17.     In order to undertake these efforts with respect to Tri-State, PETA has had to divert

these resources away from its other campaigns and programs described in paragraph 5 above.

       18.     So long as Defendants’ misconduct continues, PETA will continue to see its core

mission of animal protection impaired as Defendants continue to unlawfully mistreat and neglect

animals and as members of the public are misled into thinking that Defendants are providing an

essential refuge for unwanted animals that provides care consistent with good animal welfare and

state and federal law. If Tri-State were ordered to relocate the surviving animals to bona fide

wildlife sanctuaries or otherwise appropriate zoological facilities or homes, PETA will not have

to continue to divert resources to counteract Defendants’ unlawful acts or the misimpression

created by Defendants.




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        19.        Attached hereto as Exhibit F are true and correct copies of the complaints PETA

submitted about Tri-State to government agencies and related correspondence.

        20.        Attached hereto as Exhibit G are true and correct copies of PETA’s press releases

about Tri-State.

        21.        Attached hereto as Exhibit H are true and correct copies of the information PETA

shared about Tri-State with the public through its website, social media accounts, and via email

and text alerts.

        22.        Attached hereto as Exhibit I are true and correct copies of the blog posts about Tri-

State that PETA posted on its PETA.org blog.

        23.        Attached hereto as Exhibit J are true and correct copies of public complaints that

PETA received about Tri-State, which PETA reviewed and responded to.

        24.        Attached hereto as Exhibit K are true and correct copies of screenshots from Tri-

State’s social media accounts and website, as well as third party social media posts regarding the

conditions at Tri-State, which were monitored by PETA.

        25.        Attached hereto as Exhibit L are true and correct copies of the public records

requests related to Tri-State that were submitted by PETA. All responses were subsequently

reviewed and analyzed by PETA.

        26.        Documents relating to the lawsuits filed by PETA over Tri-State’s AWA license

renewal, People for the Ethical Treatment of Animals, Inc. v. U.S. Dep’t of Agriculture, 194 F.

Supp. 3d 404 (E.D.N.C. 2016), aff’d sub nom. People for the Ethical Treatment of Animals v. U.S.

Dep’t of Agriculture, 861 F.3d 502 (4th Cir. 2017), and Tri-State’s ESA violations, People for

Ethical Treatment of Animals, Inc. v. Tri-State Zoological Park of W. Maryland, Inc., 424 F. Supp.

3d 404 (D. Md. 2019), aff’d, 843 F. App’x 493 (4th Cir. 2021), cert. denied sub nom. Tri-State



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